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                    IN THE UNITED STATES DISTRICT COURT
 14               FOR THE CENTRAL DISTRICT OF CALIFORNIA
 15                            (Western Division)
 16   CLIFTON W. MARSHALL, et al.,         Case No. 16-CV-6794 AB (JCx)
 17                                        APPLICATION FOR LEAVE TO
                             Plaintiffs,   FILE UNDER SEAL
 18
      v.
                                           [Filed concurrently with Decl. of Kurt C.
 19                                        Struckhoff In Support of Application for
      NORTHROP GRUMMAN                     Leave to File Under Seal and [Proposed]
 20                                        Order]
      CORPORATION, et al.,
 21                                        Hon. André Birotte Jr.
                             Defendants.
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  1      In accordance with L.R. 79-5.2.2(b), Plaintiffs submit this Application for Leave
  2   to File Under Seal their Unredacted Memorandum in Support of their Motion to
  3   Disqualify Defendants’ Expert Marcia Wagner and Exhibits A and B filed in
  4   support of their motion. Defendants have designated these exhibits as Confidential
  5   under the terms of the protective order. Doc. 108. Plaintiffs’ Memorandum
  6   incorporates excerpts of Exhibits A and B. Defendants shall have four days of the
  7   filing of this Application to file a declaration establishing that the designated
  8   material is sealable under L.R. 79-5.2.2(b)(i).
  9
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 11   Dated: February 5, 2019            Respectfully submitted,
 12
                                         By: /s/ Jerome J. Schlichter
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      CASE NO. 16-CV-6794 AB (JCX)              -1-                 APPLICATION FOR LEAVE TO FILE
                                                                                     UNDER SEAL
